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                                                      United States Courts
                                                    Southern District of Texas
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                                                  David J. Bradley, Clerk of Court
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